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                              UNITED STATES DISTRICT COURT FOR
                               THE DISTRICT OF MASSACHUSETTS




 PRESIDENT AND FELLOWS OF
 HARVARD COLLEGE; and
 MASSACHUSETTS INSTITUTE OF
 TECHNOLOGY,

                Plaintiffs,

        v.                                              Civil Action No. 1:20-cv-11283-ADB

 UNITED STATES DEPARTMENT OF
 HOMELAND SECURITY; U.S.
 IMMIGRATION AND CUSTOMS
 ENFORCEMENT; CHAD F. WOLF, in his
 official capacity as Acting Secretary of the
 United States Department of Homeland
 Security; and MATTHEW ALBENCE, in his
 official capacity as Acting Director of U.S.
 Immigration and Customs Enforcement,

                 Defendants.


                                DECLARATION OF IAN A. WAITZ

       I, Ian A. Waitz, hereby state under the penalty of perjury that the following statements are

true and accurate to the best of my knowledge, based on my personal knowledge as well as

information compiled and verified by other Massachusetts Institute of Technology (“MIT” or the

“Institute”) employees, and that I could testify to these matters if called to do so:

       1.      I am the Vice Chancellor of MIT, a position I have held since 2017.      e matters

addressed herein are based on my personal knowledge or upon information I learned in the course of

my duties at MIT, including from others involved in MIT’s COVID-19 operational plans and eﬀorts

to support international students.
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       2.      I have been a member of MIT’s faculty since 1991. In addition to serving as Vice

Chancellor, I am currently the Jerome C. Hunsaker Professor of Aeronautics and Astronautics and a

MacVicar Faculty Fellow. I previously served as the department head of Aeronautics and

Astronautics and Dean of the School of Engineering.

       3.      In my role as Vice Chancellor, I lead the Oﬃces of Undergraduate and Graduate

Education. I also oversee the first-year undergraduate educational experience and MIT’s residential

education system. My oﬃce is the primary educational point of contact for MIT’s undergraduate

and graduate student government and other key student organizations. Additionally, MIT’s

International Students Oﬃce (“ISO”), which assists international students in maintaining their legal

status and promotes their interaction with and integration into the MIT community, reports to my

oﬃce. I report to Chancellor Cynthia Barnhart.

       4.      In my role as Vice Chancellor, I have worked collaboratively for the last several

months with President L. Rafael Reif, Chancellor Barnhart, MIT’s leadership, faculty, staﬀ, scholars,

students, alumni, parents, and outside advisors in developing and implementing MIT’s short- and

long-term plans and operations for the COVID-19 pandemic, including our plans for undergraduate

and graduate education this fall.

       5.      In March 2020, President Reif asked me to co-lead MIT’s Team 2020 with Interim

Deputy Executive Vice President Anthony Sharon. President Reif tasked Team 2020 with

examining, analyzing, and refining options for the upcoming academic year for MIT, including

investigating the steps that MIT should take to reasonably manage the health and safety risks in

reopening and scaling back operations under various scenarios. In making these recommendations

for the upcoming year, we took into consideration the potential long-term consequences of such

recommendations for MIT.




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       6.       In March, I began holding daily briefing calls with MIT deans, department heads,

faculty members, senior administrative staﬀ, and students about creating academic continuity in light

of COVID-19 and the necessity of reducing on-campus operations. In these briefing calls, we

discuss current issues, announce new decisions, and solicit input on the Institute’s response to

COVID-19.

       7.       I also met regularly with President Reif’s senior leadership team to convey

information from the planning group and to obtain high-level decision making as we moved along in

our planning.

       8.       Members of Team 2020 sought and received feedback about MIT’s options for the

Fall 2020 semester and beyond. Our decision-making process was informed by experts across many

fields, collaborations with leaders at schools, departments, and groups across the Institute, and

feedback from our students and other community members, including through virtual town hall

meetings with and surveys of students, faculty, and staﬀ about remote learning experiences, housing

needs, and preferences for the fall semester.

       9.       We also reviewed presentations, survey results, reports, and recommendations from

MIT community members, including feedback from academic departments regarding teaching

methods; recommendations from MIT’s undergraduate student government concerning the academic

calendar, housing, and grading; input from faculty members who live in residence halls; and a report

from key leaders of faculty governance committees that relate to undergraduate and graduate

education.

       10.      We evaluated various options for the Fall 2020 semester with several key principles

and values in mind.     ese principles and values included prioritizing our community’s health and

welfare, remaining focused on accomplishing MIT’s mission to a high standard of excellence, and

retaining flexibility in an uncertain and rapidly changing environment. Based on the events of

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March 2020 and the breadth of our experience in higher education, we also recognized an important

asymmetry in the challenges associated with adjusting to changing conditions: It will be far easier

and less disruptive to gradually shift from a primarily remote-learning program to greater in-person

activities as health conditions permit than it would be to repeat the experience from the Spring of

having to rapidly de-populate campus and move in-person coursework online. In other words, the

entire MIT community—students, faculty, and staﬀ—are better served from a health and

pedagogical standpoint by safely and cautiously returning to campus than by ramping up operations

too quickly and being forced to shut down again.

       11.     We also evaluated the options for the 2020-2021 academic year in the context of

possible future paths of COVID-19, such as a second wave of COVID-19 in the Boston and

Cambridge area, infection and side eﬀects becoming more severe with the onset of the winter flu

season, and the possible future widespread availability of rapid testing, eﬀective therapeutics, or an

eﬀective vaccine for COVID-19.

       12.     After close to four months of dedicated work, Team 2020 published our final report

on June 12, 2020 (“Team 2020 Report”).        e Team 2020 Report evaluated five options for the

upcoming academic year: (1) inviting all undergraduate students back in the fall for in-person

teaching; (2) a delayed start of January 2021, with two full semesters beginning in early January and

stretching into the summer; (3) inviting 60% of undergraduate students back to campus in the fall

and 75% in the spring; (4) a three-semester model in which undergraduate students were guaranteed

two out of three semesters on campus; and (5) a fully remote fall semester, with the degree of in-

person teaching for spring to be determined later based on conditions closer to that time.

       13.     We carefully weighed the benefits and drawbacks of each option, including the health

risks to the MIT and the broader community; quality of educational oﬀerings; eﬀect on student

academic progression; impact on student quality of life; impact on residential operations; feasibility

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of implementation; financial sustainability; reputation impacts; and long-term eﬀect on the

Cambridge and Boston community.

       14.     After considering the options above, and weighing the latest public health data, which

in late June and early July began showing a dramatic increase in cases nationally and around the

world, MIT adopted a model of two semesters with gradually increased on-campus occupancy, with

only 40% of undergraduate students returning to campus in the fall. We chose a level of density on

campus, and in particular in our residence halls, that we believe will best enable us to prioritize the

health of our community. We invited all graduate students to return because the apartment-style

living arrangements typical of our graduate students present lower health risks than the dormitory-

style arrangements typical of our undergraduate population. Further, only 40% of graduate students

are typically housed in MIT facilities, with the others living in the surrounding area. Our hope is

that success in the fall with this number of students will enable us to learn and invite back additional

students in the spring. Course instruction for students living oﬀ-campus will take place entirely

remotely, with no access to campus, and students living on campus will have a combination of

online and in-person instruction.

       15.     MIT reached this decision based on its understanding of the safety and public risks

and its pedagogical judgments. For example:

               a.      MIT invited rising undergraduate seniors to return to campus because they

       have more classes that rely on physical infrastructure (e.g., labs) and less flexibility to

       reconfigure their schedules and still complete their required course work before they graduate.

               b.      MIT also considered the need to reduce campus density and provide students

       with adequate space to prevent campus housing from becoming a COVID-19 hotspot. We

       determined that single-occupancy rooms for undergraduate students, apartment-style

       accommodations for graduate students, limiting the number of people sharing bathrooms and

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       cooking facilities, and creating suﬃcient quarantine space would all be required. After

       accounting for these housing constraints and others, MIT determined that it could only

       accommodate approximately 2,000 undergraduate students and 2,100 graduate students in

       campus housing.

               c.     We learned from our experience in March that shutting down a campus and

       transitioning from in-person to remote learning is much more diﬃcult than instituting remote

       learning at the outset and shifting to a greater amount of on-campus, in-person learning as

       health conditions allow. Consequently, we chose a measured reopening process to minimize

       the risk of needing to shut down the campus again.

               d.     Finally, we wanted to be a good citizen of the Cambridge and greater Boston

       area, and take steps to help prioritize the safety of the community around us. It is incredibly

       important that we take steps to avoid being the cause of a new COVID-19 outbreak in

       Massachusetts.

       16.     Our decision to institute remote learning for most of our students diﬀers from the

decisions of some of our peer schools. It is key, however, that MIT is able to decide how best to

reopen our campus based on our evaluation of the public health, safety, and pedagogical needs of our

particular campus community.      at is what MIT has spent months planning for.

       17.     MIT intentionally waited as long as we could to make a decision about the fall 2020

semester so we could make the decision based on the current expert, safety, and health data and

needs of our students. We decided early on to make final decisions as late as was reasonable for our

students and administration, given the rapidly evolving information on COVID-19 and its spread,

safety and health guidance from public oﬃcials, and feedback from our community.




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       18.     As Chancellor Barnhart described in her July 8, 2020 declaration, it will be extremely

challenging if MIT is required to change course at this late date. Many of the key deadlines that

aﬀect the fall semester are fast approaching:

               a.         e deadline for departments to submit their class schedules is July 14;

               b.         e listing of classes becomes available to students on July 17, and the

       beginning of student preregistration is July 20;

               c.         e deadline to apply for housing assistance is July 21;

               d.         e deadline for revised financial aid letters, which depend on whether the

       student will be on- or oﬀ-campus, is July 22;

               e.         e deadline for undergraduate students who have been invited back to campus

       to apply for on-campus housing is July 27;

               f.         e deadline to defer admission for first-year students is July 27; and

               g.         e deadline to decline campus housing is August 5.

       19.     Given the academic, housing, and other planning that has gone into preparing for the

fall semester, and the short time between now and the beginning of the semester, it would be very

diﬃcult at this stage to amend course planning and create a new approach for oﬀering housing to

additional students in a manner that is true to our goal of prioritizing health and safety.

       20.     As part of my work evaluating the options and making recommendations for the fall

semester, members of Team 2020 and I reviewed and/or were briefed on the COVID-19 Guidance

for Student and Exchange Visitor Program that the United States Immigration and Customs

Enforcement (“ICE”) issued in response to the COVID-19 pandemic. On March 13, 2020, ICE

issued COVID-19 Guidance for Student and Exchange Visitor Program Stakeholders (“March 13

Guidance”). Pursuant to the March 13 Guidance, students in the United States holding F-1 visas are

allowed to “count online classes towards a full course of study” in the event their school temporarily

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stopped in-person classes, regardless of whether the visa holders remained in the United States or

departed the United States.     e March 13 Guidance stated that it would remain “in eﬀect for the

duration of the emergency.”

       21.     Team 2020 relied on the March 13 guidance in making recommendations and

decisions for the fall semester. In particular, we understood that international students would be

allowed to continue to learn remotely, either from on-campus housing or housing elsewhere in the

United States, for the duration of the COVID-19 emergency, which remains ongoing.

       22.        e ability of international students to participate in the fall 2020 semester is crucial.

All students, faculty, staﬀ, benefit from learning and working with students with diverse

backgrounds and experiences, including international students. Many of our academic programs

involve hands-on, collaborative work that is similarly strengthened by diversity of backgrounds and

viewpoints.     e programs that will be conducted remotely will similarly benefit from the

perspectives of international students.

       23.     On July 6, 2020, United States Immigration and Customs Enforcement issued the

COVID-19 and Fall 2020 directive (“July 6 Directive”), largely withdrawing the flexibility of the

March 13 Guidance. In the week since the July 6 Directive was announced, MIT’s administration,

students, and faculty have been working around the clock to assess the consequences of the July 6

Directive and support our international students.

       24.        e July 6 Directive will impact a significant number of MIT students.

Approximately 3,500 MIT students study in the United States on F-1 visas, many of whom are still

in the United States. Because of, among other things, the limits on the number of students who can

safely live on campus and study in-person this year, the July 6 Directive will require many of MIT’s

international students to leave the United States.     ose students will face many challenges if

required to leave the United States in order to continue their studies:

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        a.       Many students will be forced to return to dire conditions. More than 1,000 of

MIT’s F-1 students are from countries subject to a State Department “Do Not Travel”

advisory, and hundreds of others are from countries over which the State Department has

issued an “Exercise Increased Caution” advisory. More than 100 of MIT’s F-1 students are

from countries suﬀering from ongoing humanitarian crises.

        b.       As a practical matter, many students will not be able to fully participate in

online classes and research from their home country. As we have learned this spring, many of

our students live in locations with unreliable or no internet service. Nearly 1,000 of MIT’s F-

1 students are from countries with blocked or limited Internet access such as Ethiopia, China,

and Syria. Approximately 3,000 of MIT’s F-1 students are from countries with a time

diﬀerence of six hours or more from Cambridge.

        c.       More than 700 F-1 students are from countries currently suﬀering from

significant COVID-19 outbreaks such as Brazil, India, and Russia. And many students may

need to take multiple flights to reach their home country, thereby potentially increasing the

risk of them catching and spreading COVID-19.

        d.       Many students may not be able to return to campus when we return to a fully

in-person program. More than 1,500 of MIT’s F-1 students hail from countries subject to a

COVID-19-related or other ban on travel into the United States.

25.          e July 6 Directive also poses many major challenges for MIT to operate, including:

        a.       After spending four months engaged in a collaborative, iterative process that

balanced public health and safety considerations against MIT’s mission and the needs and

desires of our community, we will eﬀectively be forced to devise a new plan that complies

with the July 6 Directive to ensure that our international students are able to continue with

their studies. Given the short time frame, we will certainly not be able to replicate the

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       extensive community outreach and research that we conducted to create our original plan.

       Instead, we will have to quickly create a diﬀerent plan that still allows MIT to provide its

       high-quality education and preserve the health of its students, faculty, and staﬀ and the

       Cambridge and greater Boston areas. As each day passes, the diﬃculty of devising a new

       plan that achieves these goals increases significantly.

               b.      We have already determined from a public health and safety standpoint that we

       should not have more than 40% of undergraduate students living on campus. To

       accommodate international students under the July 6 Directive, we would be forced to

       reevaluate which students may apply for on-campus housing and how to accommodate needs

       across the institution, despite the fact that on-campus housing preparations are well under

       way.

       26.     We have also been working over the past week to support our international students,

many of whom are scared and confused by the July 6 Directive. Since the announcement of the July

6 Directive, ISO has fielded hundreds of calls and emails from students who are concerned about

their visa status; scared of returning to their home countries; and worried that they will be unable to

participate fully in their classes, will suﬀer financial loss from the policy change, or will be faced

with deferring or foregoing their academic programs. Administrators, faculty, and staﬀ have also

received hundreds of emails from students expressing their significant concerns.



       I declare under penalty of perjury that the foregoing is true and correct.


Executed on this day, July 13, 2020

                                               /s/ Ian A. Waitz          .
                                               Ian A. Waitz


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